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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                                         CLERK’S MINUTES

 CASE NO.: 8:22-cv-718-WFJ-JSS                             DATE:    April 19, 2022

 HONORABLE WILLIAM F. JUNG

 STATE OF FLORIDA, ET AL.,                             PLAINTIFF COUNSEL
                                                       James Hamilton Percival, II
         Plaintiffs                                    Natalie Christmas

 v.

 ROCHELLE P. WALENSKY, et al.,
                                                       DEFENDANT COUNSEL
         Defendants                                    Stephen Michael Pezzi
                                                       Eric Beckenhauer
 COURT REPORTER: Tracey Aurelio                            DEPUTY          Caleb Houston
                                                           CLERK:
                                                           COURTROOM:      15B - Telephonic
 TIME: 8:26 AM – 8:31 AM
 TOTAL: 6 Minutes


PROCEEDINGS:          STATUS CONFERENCE

Court called to order.

Counsel identified for the record.

Plaintiff counsel addressed the Court.

Defense counsel addressed the Court.

Court adjourned.
